Case 2:02-cr-20041-SH|\/| Document 333 Filed 04/21/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA}

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i.

)
}
Plaintiff, )
)

vs. ) CR. NO. 02-20041-Ma
)
TYRONE JONES, }
RONALD MCNEIL, )
)
Defendants. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.

Defense counsel requested a continuance of the present trial date

in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to

the rotation docket beginning May 2, 2005 at 9:30 a

report date of Thursday, April 21, 2005 at 2:00 p.m.

.m., With a

The period fron1 March 25, 2005 through. May' 13, 2005 is

excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the

interests of justice in allowing additional time

outweigh the need for a speedy trial.

cal/k

IT IS SO ORDERED this

to prepare

day of April, 2005.

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SAMUEL H. MAYS, JR.

UNITED STATES DISTRICT JUDGE

Thfs document entered on the docket sheet in compllance
with Ru|e 55 and!or 32(b) FRCrP On 4 'o?/»O

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This notice confirms a copy of the document docketed as number 333 in
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Honorable Sarnuel Mays
US DISTRICT COURT

